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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

American Federation of,                )
Government Employees,                  )
National Council of HUD Locals         )
Council 222, AFL-CIO,                  )
                                       )
        Plaintiff                      ) Civil Action No. 1:19-cv-01934
v.                                     )
                                       )
Federal Service Impasses,              )
Panel, et al.,                         )
                                       )
                                       )
        Defendants.                    )
_______________________________________)

    PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT AND INCORPORATED
            OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

       Pursuant to Rule 56(e) of the Federal Rules of Civil Procedure and Local Rule 7(h), and

based on the accompanying Memorandum of Law, Statement of Material Facts Not In Dispute,

and Declaration of Ashaki Robinson-Johns, Plaintiff, American Federation of Government

Employees, National Council of HUD Locals, Council 222, AFL-CIO respectfully requests that

the Court grant summary judgment in its favor in the above-captioned action and deny

Defendants’ Motion to Dismiss. A proposed order accompanies this motion. Pursuant to Local

Rule 7(f), Plaintiff respectfully requests an oral hearing on this motion and incorporated

opposition.

                                                     Respectfully Submitted,

                                                     Andres M. Grajales
                                                     Deputy General Counsel
                                                     D.C. Bar No. 476894
                                                     Grajaa@afge.org

                                                     /s/ Rushab Sanghvi
                                                     Rushab Sanghvi
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                                 Associate General Counsel
                                 D.C. Bar No. 1012814
                                 Sanghr@afge.org

                                 /s/ Mark L. Vinson
                                 Mark L. Vinson
                                 Assistant General Counsel
                                 D.C. Bar No. 478175
                                 Vinsom@afge.org

                                 American Federation of Government,
                                 Employees, AFL-CIO
                                 Office of General Counsel
                                 80 F Street, NW
                                 Washington, DC 20001
                                 Tel: (202) 639-6424
                                 Fax: (202) 379-2928
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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

AMERICAN FEDERATION OF                 )
GOVERNMENT EMPLOYEES                   )
NATIONAL COUNCIL OF HUD LOCALS,        )
COUNCIL 222, AFL-CIO                   )
                                       )
      Plaintiff                        )
v.                                     )
                                       )
FEDERAL SERVICE IMPASSES               )   Civil Action No. 1:19-cv-01934
PANEL, et al.,                         )
                                       )
                                       )
      Defendants.                      )
_______________________________________)

 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
 MOTION FOR SUMMARY JUDGMENT AND INCORPORATED OPPOSITION TO
                DEFENDANTS’ MOTION TO DISMISS


Andres M. Grajales                         American Federation of Government,
Deputy General Counsel                     Employees, AFL-CIO
D.C. Bar No. 476894                        Office of General Counsel
Grajaa@afge.org                            80 F Street, NW
                                           Washington DC, 20001
Mark L. Vinson                             Fax: (202) 379-2928
Assistant General Counsel                  Tel: (202) 639-6424
D.C. Bar No. 478175
Vinsom@afge.org

Rushab Sanghvi
Associate General Counsel
D.C. Bar No. 1012814
Sanghr@afge.org
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                                        INTRODUCTION

       The Court should grant Plaintiff’s Motion for Summary Judgment, and deny Defendants’

Motion to Dismiss, for three reasons. One, the Court has subject matter jurisdiction over this

action as it does not fall within the Statute’s administrative review scheme. Channeling would

improperly foreclose meaningful review of Plaintiff’s claims and force Plaintiff to “bet the farm”

in exactly the manner that the Supreme Court rejected in Free Enterprise Fund v. Public Co.

Accounting Oversight Bd, 561 U.S. 477, 490-91 (2010).

       Two, the Court should grant Plaintiff’s Motion for Summary Judgment because the

chairman and members of the Panel are principal officers who were not appointed with the

advice and consent of the Senate in violation of the Appointments Clause of the United States

Constitution. Art. II, § 2, cl. 2. To the extent that Section 7119 of the Statute allows otherwise, it

is void. Panel members exercise significant authority, without supervision, and take final actions

that bind the parties before them. The Appointments Clause therefore requires that their

appointments be made only with the Senate confirmation, which they were not.

       Three, separate and apart from the insurmountable constitutional defect in the

appointments of the Panel’s chairman and members, the Panel’s issuance of the decision in this

case was done outside of the power that the Statute grants the Panel. Unlike the Statute’s clear

and express provision that the Authority may continue to exercise its power in the event of a

vacancy, the Statute grants the Panel no such similar allowance. Instead, the Statute sets the

condition precedent that the Panel must be composed of “a Chairman and at least six other

members.” 5 U.S.C. § 7119(c)(2) (emphasis added). The Panel had no power under the Statute to

issue any decision with respect to HUD and Council 222, unless and until it had a full

complement of six members and a chairman, which it did not. To the extent that Defendants seek



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to rely on the Panel’s regulations, that reliance is misplaced. Any reading of the Panel’s

regulations that would allow the Panel to take a final action in the absence of “a Chairman and at

least six other members” is contrary to the plain language of the Statute and therefore without

force. 5 U.S.C. § 7119(c)(2)(emphasis added).

         For all of the reasons above, the Panel’s issuance of its decision in Department of

Housing and Urban Development and AFGE, Council of HUD Locals 222, 18 FSIP 075,

(February 14, 2019) (“HUD and Council 222”), was ultra vires and should be vacated. The

Court should therefore grant Plaintiff’s motion for summary judgment and deny Defendants’

motion to dismiss in its entirety. 1

                              FACTUAL AND PROCEDURAL BACKGROUND

         I.       The Panel

         The Federal Service Labor-Management Relations Statute, 5 U.S.C. Chapter 71, (the

“Statute”) establishes the Federal Labor Relations Authority (“Authority”) and provides that the

Authority is composed of three members who “shall be appointed by the President by and with

the advice and consent of the Senate.” 5 U.S.C. § 7104(b). The Statute gives the Authority a

variety of powers and duties relating to federal sector labor relations. 5 U.S.C. § 7105. And the

Statute expressly provides, with respect to the Authority’s ability to use its powers, that “[a]

vacancy in the Authority shall not impair the right of the remaining members to exercise all of

the powers of the Authority.” 5 U.S.C. § 7104(d).

         Similar to the Authority, the Statute separately establishes the Federal Service Impasses

Panel (“Panel” or “FSIP”). 5 U.S.C. § 7119. The Panel is empowered, broadly speaking, to



1
 To the extent that Defendants’ motion to dismiss seeks to dismiss Civil Action No. 19-cv-1976, or any claims that
were raised therein, Defendants’ motion should be denied as moot in light of the parties’ joint motion to dismiss that
action with prejudice. See Docket No. 19, Joint Motion to Dismiss Civil Action No. 19-cv-1976 as Moot.

                                                                                                                    2
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resolve negotiation impasses that may arise between an agency and a labor organization engaged

in collective bargaining - so long as the Panel does not take any action inconsistent with the

Statute. 5 U.S.C. § 7119(c)(5)(B)(iii). Pursuant to the Statute, the Panel exercises significant

authority and discretion. Specifically, 5 U.S.C. § 7119(c)(5)(B) authorizes the Panel to: (i) hold

hearings; (ii) administer oaths, take the testimony or deposition of any person under oath, and

issue subpoenas; and (iii) take whatever action is necessary and not inconsistent with this chapter

to resolve the impasse.

       The Statute treats the Panel differently from the Authority in two key respects. First, the

Statute provides that “[t]he Panel shall be composed of a Chairman and at least six other

members, who shall be appointed by the President,” without the advice and consent of the

Senate. 5 U.S.C. § 7119(c)(2) (emphasis added). Such Panel members may also be removed by

the President at any time. 5 U.S.C. § 7119(c)(3). The second key respect in which the Statute

treats the Panel differently from the Authority is that the Statute contains no provision that grants

the Panel or its members the ability to exercise any of its powers in the event of a vacancy.

Compare 5 U.S.C. § 7104(d) with 5 U.S. C. § 7119(c)(2).

       II.     HUD and Council 222

       On or about June 19, 2018, Council 222 and HUD began bargaining, over a “ground

rules” agreement that would govern the parties’ negotiations for a term agreement. A month

later, on July 30, 2018, HUD asserted that the parties had reached an impasse in their ground

rules negotiations and HUD submitted a request for Panel assistance with the parties’ ground

rules negotiations. Council 222 objected to the Panel’s jurisdiction on September 2018. Despite

Council 222’s objection on November 15, 2018, the Panel took jurisdiction and ordered the

parties to engage in mediation with the Federal Mediation and Conciliation Service (FMCS).



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From December 10, 2018 through December 14, 2018, Council 222 and HUD met with the

FMCS mediator. On December 14, 2018, because the parties could not reach agreement on the

ground rules, the FMCS mediator referred the parties to the Panel for resolution of the purported

impasse.

       Prior to the referral to the Panel, on July 26, 2017, the President appointed defendant

Mark Carter to be Chairman of the Panel; he also appointed as members Andrea Fisher Newman,

David R. Osborne, Karen M. Czarnecki, Donald Todd, Jonathan Riches and F. Vincent

Vernuccio. On January 10, 2019, the appointments of Donald Todd, Jonathan Riches, and F.

Vincent Vernuccio expired, leaving the Panel with only four members.

       On February 14, 2019, the Panel issued its decision in HUD and Council 222 with only

four members serving on the Panel.


                                           ARGUMENT

       I.      STANDARD OF REVIEW

               a. Rule 56

       A moving party is entitled to summary judgment when it demonstrates that there is no

genuine dispute as to any material fact and it is entitled to judgment as a matter of law. Fed. R.

Civ. P. 56(a). “[A] party seeking summary judgment always bears the initial responsibility of

informing the district court of the basis for its motion, and identifying those portions of [the

record] which it believes demonstrate the absence of a genuine issue of material fact.” Winston

Strawn, LLP v. McLean, 843 F.3d 503, 507 (D.C. Cir. 2016) (quoting Celotex Corp. v. Catrett,

477 U.S. 317, 323 (1986)).

       Once the movant carries this initial burden, the burden shifts to the non-moving party to

demonstrate that sufficient evidence exists for a reasonable jury to find in the nonmoving party’s

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favor as to the essential elements of that party’s case, for which they will have the burden of

proof at trial. Celotex, 477 U.S. at 322. If the non-moving party is unable to set forth specific

facts showing a genuine issue for trial exists, summary judgment is appropriate. Id. at 324.

               b. Rule 12(b)(1)

        In ruling upon a motion to dismiss brought under Rule 12(b)(1), a court must “assume the

truth of all material factual allegations in the complaint and construe the complaint liberally,

granting plaintiff the benefit of all inferences that can be derived from the facts alleged.” Am.

Nat'l Ins. Co. v. FDIC, 642 F.3d 1137, 1139 (D.C. Cir. 2011) (citations omitted). Under Rule

12(b)(1), however, “where necessary, the court may consider the complaint supplemented by

undisputed facts evidenced in the record, or the complaint supplemented by undisputed facts plus

the court's resolution of disputed facts.” Herbert v. Nat'l Acad. of Sciences, 974 F.2d 192, 197

(D.C. Cir. 1992). Generally, the “threshold to withstand a motion to dismiss under Fed.R.Civ.P.

12(b)(1) is … lower than that required to withstand a Rule 12(b)(6) motion.” See Lunderstadt v.

Colafella, 885 F.2d 66, 70 (3d Cir. 1989). If the Court concludes that it is not barred from

hearing a plaintiff’s claims, it must deny the motion to dismiss. Am. Nat'l Ins. Co, 643 F.3d at

1145.

        II.    THE COURT HAS SUBJECT MATTER JURISDICTION OVER THIS
               ACTION

        The Court has subject matter jurisdiction because Council 222 satisfies all the

prerequisites necessary to establish this Court’s jurisdiction and the Statute does not otherwise

preclude this Court from asserting jurisdiction over this action. Council 222 was a party to the

Panel’s decision and that binding decision, issued by invalidly appointed officers and without the

full complement of members that the Statute requires, harmed Council 222 and continues to




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harm Council 22 by imposing bargaining ground rules that are detrimental to Council 222 and to

which the council did not agree.

       Moreover, the administrative channeling which Defendants seek is not available because

Council 222’s claims are not “of the type Congress intended to be reviewed within [the] statutory

structure.” Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 212 (1994) (“Thunder Basin”). And

even assuming solely for the sake of argument that they were, the Court would nonetheless have

subject matter jurisdiction over this matter because the Panel’s issuance of its decision was done

“in excess of its delegated powers” and was contrary to the clear statutory mandate that the Panel

shall be composed of a Chairman and at least six other members.” See Council of Prison Locals

v. Brewer, et al., 735 F.2d 1497 (D.C. Cir. 1984) (“Brewer”) (quoting Leedom v. Kyne, 358 U.S.

184 (1958) (“Leedom”)); see also 5 U.S.C. § 7119(c)(2).

       Defendants’ preclusion argument is based entirely on the misplaced notion that this Court

lacks jurisdiction to review Panel decisions. This might be true of Council 222 sought review of

the substance or the merits of the Panel’s decision, but they do not. Council 222 does not

challenge here the substance of the Panel’s order or the reasoning behind it. Instead, Council 222

challenges the very authority of the Panel to issue any orders, as presently appointed and as it

was composed at the time it issued it decision in this case. As a result, Council 222’s claims are

not the type of claims Congress intended to be reviewed through the Statute.

       Further, Defendants’ try to elide Council 222’s argument that the Statute requires a

“Chairman and at least six other members” before it may act by asserting that the Statute is

“silent” as to “what constitutes a quorum of the Panel” and that therefore Leedom does not apply.

Defs. Motion at 24. But Defendants are looking in the wrong place. Their argument, put

differently, turns a blind eye to what is a very simple and straightforward, and express, statutory



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mandate: “[t]he Panel shall be composed of a Chairman and at least six other members.” 5

U.S.C. § 7119(c)(2). And we must presume that Congress knew full well what it was doing when

it used the language “at least” when, by contrast, it took the time to carve out a different and

express “quorum” provision for the Authority. Compare 5 U.S.C. § 7104(d) and 5 U.S.C §

7119(c)(2). The Panel therefore acted contrary to an express statutory mandate when it issued

HUD and Council 222 with fewer than seven members. Consequently, Leedom provides this

Court subject matter jurisdiction to correct the Panel’s violation of this clear and mandatory

statutory provision.

        Finally, in support of their motion to dismiss, Defendants inaptly rely on Am. Fed'n of

Gov't Employees, AFL-CIO v. Trump, 929 F.3d 748 (D.C. Cir. 2019) (“Trump”). The Court of

Appeals’ decision in Trump is inapplicable here because it involved widely divergent

circumstances and different parts of the Statute. Specifically, the claims in Trump dealt with

challenges to executive orders issued by the President and concerned the potential imposition of

specific types of bargaining terms – where bargaining had yet to occur. Neither the Panel, nor the

portions of the Statute at issue here, were implicated by the claims in Trump. Moreover, the

Court of Appeals’ holding in Trump was based on hypothetical bargaining scenarios that could

not arise from the facts that led to Council 222’s claims. Consequently, the Court of Appeals

opinion in Trump does not support Defendants’ Motion, and this Court has jurisdiction to hear

Council 222’s claims.

                A.      Council 222 has standing to bring this action against the Panel

        It does not warrant detailed discussion to establish that Council 222 has standing in this

case. First, it is settled law in this Circuit that a regulated entity has standing to assert a challenge

to the constitutionality of a regulatory official’s appointment. See Buckley v. Valeo, 424 U.S. 1,



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12 (1976) & n.10; Andrade v. Lauer, 729 F.2d 1476, 1494-496 (D.C. Cir 1984). It is beyond

dispute that Council 222 is an entity regulated by the Authority and Panel. See 5 U.S.C. § 7119.

Thus, Council 222 clearly has standing to raise an Appointments Clause challenge to the

composition of the Panel.

       Next, Council 222 plainly has Article III, as it has established: (a) injury in fact that is

actual, concrete, and particularized; (b) causation; and (c) redressability. Arpaio v. Obama, 797

F.3d 11, 19 (D.C. Cir. 2015); see also Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992).

The Panel’s decision directly injured Council 222 by imposing terms of a ground rules’

agreement which Council 222 opposed and which compel Council 222 to take certain actions

against its will. For example, HUD and Council 222 has required Council 222 to expend

resources for the travel expenses of its negotiators.

       Finally, a favorable decision will redress Council 222’s injury regardless of the eventual

make-up of the Panel. Specifically, “it cannot be assumed that action in accord with correct

procedures would have produced the same result.” Andrade, 729 F.2d at 149. Thus, it cannot be

presumed that Council 222 would have suffered the same injury if the Panel had been composed

correctly and vacatur of the Panel’s decision will provide Council 222 with relief from its terms

and the opportunity to pursue a new agreement before a properly constituted Panel.

Consequently, Council 222 has standing.

               B.      The Statute Does Not Preclude Jurisdiction Over Challenges to the
                       Panel’s Composition.

       This Court has jurisdiction to hear Council 222’s claims because Council 222’s

challenges to the Panel’s composition and appointment are not the type of claims that Congress

intended to be reviewed by the Statute. When analyzing whether an otherwise comprehensive

statutory scheme precludes district court jurisdiction over a claim, a court must review whether

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the claim falls within the scheme’s purview, i.e., is the claim “of the type Congress intended to

be reviewed within [the] statutory structure.” Thunder Basin, U.S. 200 at 212. For preclusion to

apply, the intent must be “fairly discernible in the statutory scheme.” Thunder Basin, 510 U.S. at

207.

       The Court of Appeals has endorsed three “general guideposts useful for channeling the

inquiry into whether the particular claims” are of the type Congress intended to be reviewed by a

statutory scheme. Jarkesy v. SEC, 803 F.3d 9, 17 (D.C. Cir. 2015). Claims “will be found to fall

outside of the scope of a special statutory scheme in only limited circumstances, when (1) a

finding of preclusion might foreclose all meaningful judicial review; (2) the claim[s] [are]

wholly collateral to the statutory review provisions; and (3) the claims are beyond the expertise

of the agency.” Arch Coal, Inc. v. Acosta, 888 F.3d 493, 500 (D.C. Cir. 2018) (citing Free

Enterprise Fund v. Public Co. Accounting Oversight Bd, 561 U.S. 477, 489 (2010); Thunder

Basin, 510 U.S. at 212–13).

        Here, all three guideposts show that Council 222’s claims are not of the type Congress

intended to be reviewed by the Statute. Indeed, the nature of Council 222’s claims against the

Panel are uncannily like those that the Supreme Court found outside a statutory scheme’s

preclusion in Free Enterprise. Like the plaintiffs in Free Enterprise’s “object[ion] to the Board's

existence,” Council 222 challenges the very existence of the Panel’s authority. Free Enterprise

561 U.S. at 490. Similar to the Free Enterprise plaintiff’s inability to obtain review from the

Securities and Exchange Commission (“SEC”), Council 222 will not be able to obtain review

from the Authority because its “general challenge to the [Panel] is ‘collateral’ to any [Authority]

orders or rules from which review might be sought.” Id. Moreover, even if Council 222 could

conceivably obtain Authority review through a far-fetched unfair labor practice charge, such



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review would not be meaningful because Council 222 would have “to ‘bet the farm ... by taking

the violative action’ before ‘testing the validity of the law.’” Free Enterprise, 561 U.S. at 490-91

(quoting MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 129 (2007)). Finally, like the SEC

in Free Enterprise, the Authority does not have the competence and expertise to hear Council

222’s claims. Id at 491. Thus, in accordance with the Supreme Court’s holding in Free

Enterprise, this Court has jurisdiction to hear Council 222’s claims.

       1. A finding of preclusion would foreclose all meaningful judicial review of Council
          222’s claims against the Panel.

       Contrary to Defendants’ assertion, a finding in this case that Council 222 is precluded

from challenging the Panel’s composition and appointment in district court would foreclose all

meaningful judicial review of these claims. Specifically, the Statute does not provide any review,

let alone meaningful review, of claims such as those made by Council 222. While the Statute

provides for judicial review of Authority orders, there is no direct mechanism for review of Panel

orders or claims challenging the Panel’s authority. See 5 U.S.C. § 7123; Brewer, 735 F.2d 1497.

       Defendants argue that a party may conceivably obtain review of a Panel order through an

unfair labor practice proceeding. Council 222’s claims in this matter, however, do not concern

the substance of a Panel order. Rather, they challenge the very basis of the Panel’s authority.

In addition, the nature of Council 222’s claims foreclose it from raising them before the

Authority. Thus, unlike the claims in Thunder Basin, the claims here are appropriate for district

court review. Put differently, Council 222 is not contesting the legality of the results reached by

the Panel below. Council 222 is instead arguing that the Panel lacked the authority to reach any

result at all because its very existence and composition is invalid. Moreover, even if Council 222

could make some far-fetched attempt to obtain review through an unfair labor practice, that

review would not be meaningful because it would require Council 222 “to ‘bet the farm ... by

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taking the violative action’ before ‘testing the validity of the law.’” Free Enterprise, 561 U.S. at

490-91 (quoting MedImmune Inc. at 129). For instance, if Council 222 refused to adhere to the

Panel imposed terms, it may be found to have engaged in bad faith bargaining and lose its ability

to negotiate a term agreement.

       The differences between the claims in Thunder Basin and Council 222’s claims here

highlight why review in this Court is appropriate. Unlike Council 222, the plaintiff in Thunder

Basin was eventually able to obtain court review through a statutory scheme. In Thunder Basin, a

mining company refused to post contact information of two union representatives that it believed

were designated in violation of the National Labor Relations Act (“NLRA”). Thunder Basin, 510

U.S. at 204. Instead of waiting for the mine safety agency to file a citation against it based on its

refusal, the mining company filed a pre-enforcement challenge to the union’s designation in

district court. Id. As a basis for its claims, the company argued that the union had violated the

NLRA by designating the representatives. Id.

       Had the mining company waited for a citation, it would have been able to obtain review

of the citation from the Mine Safety and Health Review Commission, followed by appeal to

circuit court. Id. at 215-16. Even though the mining company could not obtain court review prior

to enforcement against it, the Supreme Court found that it was precluded from seeking relief in

district court because it would eventually obtain meaningful review through the NLRA. Id.

Specifically, had the mining company persisted in its refusal to recognize the designated

representatives, the “Secretary would have been required to issue a citation and commence

enforcement proceedings” against it. Id. (emphasis added). In turn, the mining company would

eventually receive judicial review through those enforcement proceedings. Id.




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       The situation at hand is distinct because the Statute does not provide Council 222 a route

to judicial review. First, unlike the mining company, Council 222 is not challenging the legality

of an action it has taken. In Thunder Basin, the mining company took action that necessarily

would prompt enforcement that, in turn, would lead to a judicially reviewable decision. Thunder

Basin, 510 U.S. at 216. On its own, a Panel order is not subject to review through the

administrative scheme and does not compel any enforcement action. See 5 U.S.C. § 7123;

Brewer, 735 F.2d at 1497.

       Next, were Council 222 to take action that could conceivably subject the Panel order to

review, that review would not be obtained unless enforcement was taken against Council 222. In

Thunder Basin, the Supreme Court relied on the fact that the mining company’s actions

compelled enforcement. Thunder Basin, 510 U.S. at 216 (noting that the violation “required” the

Secretary to issue citation). Here, nothing in the Statute compels the Authority to initiate

enforcement proceedings against a union that commits an unfair labor practice. Consequently,

even if Council 222 were to commit an unfair labor practice in relation to the Panel’s order, it

would not be able to obtain judicial review unless a complaint against it was filed and

adjudicated. National Air Traffic Controllers Association v. Federal Service Impasses Panel, et

al., 606 F.3d 780, 788 (2010) (“NATCA”) (“We do not believe the Congress intended the

General Counsel of the FLRA to exercise such control over” the Court’s jurisdiction). More

importantly, such an action may require Council 222 “to ‘bet the farm ... by taking the violative

action’ before ‘testing the validity of the law.’” Free Enterprise, 561 U.S. at 490-91. (quoting

MedImmune, Inc. at 129.). The Supreme Court has concluded that it does not “consider this a

‘meaningful’ avenue of relief.” Id.




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       Defendants’ reliance on a series of cases predating Free Enterprise and NATCA is

misplaced on numerous grounds. First, in the cases cited by Defendants, the challenges did not

concern the Panel’s authority to act in general but the Panel’s authority to issue specific terms.

For instance, in American Federation of Government Employees, AFL-CIO v. Federal Labor

Relations Authority, 778 F.2d 850, 856 (D.C. Cir. 1985) (AFGE v. FLRA), the Court of Appeals

was clear that it was discussing the binding nature of “[t]he terms” imposed by the Panel. In that

case, the issue in contention involved an agency head’s ability to determine that certain terms

imposed by the Panel were non-negotiable. Id at 855. The court’s finding, therefore, was limited

to the conclusion that the Authority may review the merits of a Panel order through an unfair

labor practice. See also Dep’t of Def. Domestic Dependent Elementary & Secondary Sch. Fort

Buchanan, P.R., 71 F.L.R.A. 127, 134 (2019) (finding that Panel could not impose specific terms

that were not at impasse). Here, Council 222 is not challenging any of the specific terms imposed

by the Panel. Instead, the challenge before this Court is the Panel’s very authority to act at all.

The Authority has not, and cannot, provide meaningful review of such a claim through an unfair

labor practice proceeding.

       Next, the Supreme Court’s ruling in Free Enterprise is clear that a party need not “‘bet

the farm ... by taking the violative action’ before ‘testing the validity of the law.’” Free

Enterprise, 561 U.S. at 490-91 (citations omitted). Defendants suggest that Council 222 “refuse

to comply with” the Panel order to force HUD to file an unfair labor practice against it, in order

to obtain review of its claims. Motion at 17. Defendants’ suggestion appears to be based on its

interpretation of Brewer, which predated the holding in Free Enterprise. Motion at 18. Were

Council 222 to take some action to provoke an unfair labor practice, the consequences may be

grievous and could include decertification. Brewer, 735 F.2d at 1501, n.9. For example, because



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some of the terms contained in the Panel order concern benefits rather than burdens, the only

action Council 222 may be able to take to instigate an unfair labor practice would involve a

strike, work stoppage, or slowdown. See Id; 5 § 7120(f). Such actions would lead to

decertification and cause Council 222 to cease to exist. Id. Surely a union should not have to

suffer such a risk to its very existence before it may raise a constitutional challenge to the

appointment of the Panel. In Free Enterprise the Supreme Court found just that, and held that a

plaintiff could not be required to take action that would subject it to large fines, or “bet the

farm,” in order to obtain meaningful review. Free Enterprise, 561 U.S. at 490-91. Thus, Council

222 cannot be forced to take action that could result in sanctions as severe as decertification to

obtain meaningful review of its claims.

       Finally, Defendants’ citations to the Court of Appeals’ recent decision in Trump, 929

F.3d 748, are unavailing. First, Defendants claim that Council 222 may obtain review by

“seek[ing] to reopen bargaining” with HUD in an attempt to prompt HUD to refuse to bargain.

Motion at 17. If HUD refuses to reopen bargaining, Defendants propose that Council 222 obtain

review through unfair labor practice proceedings. Id. Defendants’ suggestion is based on a

misplaced application of the Trump court’s finding that a union may file a negotiability appeal or

unfair labor practice during the bargaining over agencies’ implementation of the executive orders

that were challenged in that case. The challenges at issue in Trump did not involve an imposed

agreement, and the relied upon portion of the court’s opinion dealt with an issue unlike that here.

Id. There, the court suggested that unions could potentially obtain review by challenging

individual bargaining disputes as they arose. Id at 757. Specifically, as agencies bargained over

the implementation of the challenged executive orders, the Trump court suggested that unions

file unfair labor practices against the agencies over that bargaining. Id.



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        Employing such a strategy in this case would not provide Council 222 with meaningful

review of its claims. One, the gravamen of Council 222’s challenge is not based on anything that

HUD has done or will do. If Council 222 filed an unfair labor practice over HUD’s refusal to

reopen bargaining over the Panel imposed terms, the subsequent proceedings would not be about

the Panel’s authority but about HUD’s refusal to bargain. The Authority would therefore be

constrained to reviewing the validity of HUD’s actions, not the Panel’s. Two, even if an unfair

labor practice was successful, the relief provided would merely be the reopening of bargaining

and would not impact the Panel’s authority. As a result, Defendants’ suggestion that Council 222

obtain relief by seeking to reopen bargaining, is without merit.

        Defendants’ refence to the Trump court’s observation that the Statute may foreclose both

administrative and judicial relief is also misplaced. Although the Trump court did quote prior

Court of Appeals’ precedent opining on the Statute’s ability to foreclose all review of certain

claims, it made clear that the issue of the “outer bounds” of the Statute’s preclusion was not

before it. Trump, 929 F.3d at 757. More important, the Trump court was not discussing the

ability of the Statute to foreclose all review of a certain issue but only the “adequacy of specific

remedies.” Id. (quoting AFGE v. Secretary of the Air Force, 716 F.3d 633 (D.C. Cir. 2013).

Here, if Council 222 is unable to obtain review in this Court, all meaningful review of the issues

it raises in its claims will be foreclosed.

        It is clear that Congress did not foresee the type of claims Council 222 makes here and,

therefore, did not provide a mechanism to assert them. The only way Council 222 can obtain

judicial review, let alone any meaningful review, is through this challenge. Consequently, if

Council 222 is denied review in this Court, it will foreclose any meaningful judicial review of its

statutory and constitutional claims.



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       2. Council 222’s claims are wholly collateral to the Statute’s administrative review
          provisions.

       Council 222’s claims are wholly collateral to those “regularly adjudicated” through the

Statute because its challenges to the Panel’s existence and authority fall outside the Statute’s

administrative scheme. No plausible reading of the Statute’s text, or case law applying the

Statute, render questions about the Panel’s composition and appointment as issues to which the

Statute’s scheme applies. Additionally, viewed through the relief sought, Council 222’s claims

are wholly collateral because they do not seek relief that can be sought within the Statute’s

scheme.

       Free Enterprise and Elgin v. Department of Treasury, 576 U.S. 1, 13 (2012), bracket the

type of claims that will be considered “wholly collateral.” In Free Enterprise, the earlier of the

two decisions, the Supreme Court found that a constitutional challenge to the Public Company

Accounting Oversight Board (“PCAOB”) was wholly collateral to the administrative review

scheme provided by the Sarbanes–Oxley Act of 2002 (“Sarbanes-Oxley”). Free Enterprise, 561

U.S. at 489-90. Under Sarbanes-Oxley, an administrative challenge to a PCAOB order could be

made through a request to the SEC. Id. A resulting SEC order was then judicially reviewable. Id.

However, the Court found that the plaintiff’s claims in Free Enterprise were not the type

properly made through Sarbanes-Oxley’s administrative scheme because they were not merely

challenging a PCAOB order or its rules. Id. Instead, the plaintiff’s challenge to the very existence

of the PCAOB was “’collateral’ to any Commission orders or rules from which review might be

sought” through Sarbanes-Oxley. Id. Consequently, the Court found that the plaintiff’s challenge

was not precluded by Sarbanes-Oxley’s administrative review procedures even though it could

have potentially obtained review through the SEC. Id.




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        Distinguishing its ruling in Free Enterprise, the Court’s opinion in Elgin held that claims

are not “wholly collateral” if they concern “precisely the type of [] action regularly adjudicated”

through the statutory review process. Elgin, 576 U.S. at 22. In Elgin, petitioners challenged an

adverse employment action on multiple constitutional grounds. The Court concluded that the

“petitioners’ constitutional claims [were] the vehicle by which” they sought relief that the

statutory scheme “routinely affords.” Elgin, 576 U.S. at 22-23. Specifically, although the Elgin

petitioners’ claims were premised on constitutional grounds, the relief they sought was the

reversal of a removal – the same type of relief the Merit Systems Protection Board (“MSPB”)

routinely grants Id.

       The key factor distinguishing the claims in Elgin and Jarskey from those found as wholly

collateral in Free Enterprise was that the claims were meant solely to obtain relief that was

already available under an administrative scheme. Jarskey v. SEC, 803 F.3d 9, 23 (D.C. Cir.

2015). In Jarskey, the court found that even though the plaintiff’s asserted claims were allegedly

“independent and irrelevant” to the reason enforcement action was taken against him, the SEC

would “one way or another, rule on those claims.” Id. That is because the relief sought by the

plaintiff in Jarskey, the cessation of enforcement action, was the same relief sought both in the

claims made at district court and the administrative process. The same is true of the plaintiffs in

Elgin. There, the plaintiffs conceded that they could pursue a challenge to their removals through

the MSPB; they merely disagreed whether the MSPB was capable of adjudicating their

constitutional claims.

       The plaintiffs here, like those in Free Enterprise, neither have an administrative venue

for their claims nor are requesting relief that is regularly afforded through the Statute. Like the

plaintiffs’ challenge to the PCAOB in Free Enterprise, Council 222 is challenging the very



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existence and authority of the Panel. Although Council 222’s claims arise from a Panel order, the

relief sought is not the mere reversal of the Panel’s order but rather a judgment finding that the

Panel, as currently composed, does not have the authority to issue any decisions. Moreover, like

the review provisions in Sarbanes-Oxley, the Statute does not provide for a direct challenge to

the Panel. And, unlike the plaintiffs in Elgin and Jarskey, there is no administrative proceeding

that can provide the relief that Council 222 seeks.

       In arguing that Council 222’s claims are not collateral; Defendants again mischaracterize

the claims as involving the substance of a Panel order. Motion at 22. Although Council 222

believes it was harmed by the Panel’s imposition of certain terms, it is not asking for review of

those specific terms or merely for the reversal of that order. Instead, the relief it seeks is broader.

Moreover, unlike the plaintiff in Jarskey, reversal of the action prompting Council 222’s

challenge is not available under the standard administrative process. In Jarskey, the statutory

scheme provided the plaintiff with a direct avenue to appeal the order he was challenging.

Jarskey v. SEC, 803 F.3d at 21-23 (discussing the administrative proceeding over Jarskey’s

sanction). Here, there is no way for Council 222 to directly attack the Panel’s order and, like the

claims in Free Enterprise, Council 222’s claims are wholly collateral to the claims adjudicated

through the Statute. As a result, Council 222’s claims involving the composition of the Panel are

wholly collateral to the administrative scheme provided by the Statute.

       3. Council 222’s Claims are Beyond the Expertise of the Authority.

       Finally, Congress could not have intended for Council 222’s claims involving the Panel’s

composition to be precluded because these claims are outside the expertise of the Authority. The

Authority has no expertise whatsoever in determining whether the Constitution requires senate

confirmation for particular appointments. This is plainly not a labor-relations issue or even an



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issue associated with a labor-relations issue. So, while the Authority may have “specialized

expertise in the field of federal labor relations” and is tasked with administering and interpreting

the Statute, the claims at issue here do not implicate such expertise at all. AFGE Council of

Locals 214 v. FLRA, 798 F.2d 1525, 1528 (DC Cir 1986). Like the claims in Free Enterprise,

Council 222’s claims, are “standard questions of administrative law, which the courts are at no

disadvantage in answering.” Free Enterprise, 561 U.S. at 491.

       Moreover, unlike MSPB in Elgin, the Authority cannot obviate the need to address

Council 222’s challenge to the Panel’s authority. In Elgin, the Supreme Court found that even

though the plaintiff had raised a constitutional claim that was outside the expertise of the MSPB,

the MSPB could still apply its expertise to threshold issues that accompanied that claim. Elgin,

576 U.S. at 22. This was in part because the relief requested in Elgin, reversal of a removal from

federal service, could be obtained on other grounds that would eliminate the need to address the

constitutional question. Id. Here, Council 222 is asking for declaratory and injunctive relief

based on the Panel’s authority and existence. Nothing in the Statute provides the Authority with

the ability to render judgement on the Panel’s composition, and there is no forum for Council

222 to request such relief through the Statute. Consequently, Council 222’s claims are outside

the expertise of the Authority and the Authority cannot obviate the need to review those claims.

       Council 222’s claims regarding the composition of the Panel are not the type of claims

that “Congress intended to be reviewed within th[e] statutory structure.” Free Enterprise 561

U.S. at 489 (quoting Thunder Basin, 510 U.S. at 207, 212). Consequently, the Statute does not

preclude Council 222’s claims and they are properly presented to this court for review.




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               C.      The Court has Subject Matter Jurisdiction Because The Panel
                       Violated an Express Statutory Prohibition.

       Council 222’s claims are not of the type that Congress intended precluded by the Statute.

Regardless, even if some form of preclusion is found, review is proper because the Panel acted

“in excess of its delegated powers and contrary to a specific prohibition” in the Statute when it

issued the decision in HUD and Council 222 without a full complement of Panel members. See

Leedom, 358 U.S. 184. In Leedom, the Supreme Court held that even when a statutory scheme

implicitly precludes district court review of a claim, review is proper if an agency has acted “in

excess of its delegated powers and contrary to a specific prohibition in” its governing statute. Id;

See also Philip Morris, Inc. v. Block, 755 F.2d 368, 369-70 (4th Cir. 1985) (“judicial intervention

is authorized when an agency acts in ‘brazen defiance’ of its statutory authorization.”).

       Under Leedom, this court has the power to review whether the Panel exceeded its

authority. The Leedom exception applies when: (1) there is a statutory preclusion of review that

is implied, rather than expressed; (2) the plaintiff has no other meaningful and adequate means of

vindicating its statutory rights; and (3) the government has acted contrary to a clear and

mandatory statutory provision. Am. Fed’n of Gov’t Employees, Local 2510 v. FLRA, 453 F.3d

500, 506 (D.C. Cir. 2006) (“Local 2510”)

       Here, Council 222 is not seeking review of the merits of a Panel order, but to vacate the

order because it was issued when the Panel did not have the mandated composition of a chairman

and six other members. In Leedom, the Supreme Court upheld the district court's jurisdiction to

remedy the National Labor Relations Board's (“the Board”) violation of a statutory provision on

a representation matter, notwithstanding the fact that representation cases are not generally

subject to judicial review. Although the Leedom exception is narrow and difficult to meet,

Council 222 meets that standard.

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       1. The Statute Does Not Expressly Preclude Judicial Review

       As discussed above, the Statute does not expressly preclude review of Panel orders and

Congress did not intend for Panel orders to be precluded through the statutory scheme. Instead,

where preclusion has been found, it has been implied from Section 7123’s provision for circuit

court review of certain Authority orders. See 5 U.S.C. § 7123(A). That is, “[w]hile section 7123

specifically provides for judicial review of orders by the Authority, there is no provision for such

review of Panel orders, and Panel orders are not appealable even to the Authority.” Brewer, 735

F.2d at 1499. In Brewer, the Court of Appeals found Section 7123’s grant of judicial review of

certain Authority orders as implicitly precluding a challenge to the merits of a Panel order. Id.

       Unlike the complaint in Brewer, Council 222 is not requesting that this Court review the

merits of a Panel order for an error in fact or law of the resolution of an impasse. Any resolution

in this matter will not determine the merits of the Panel’s order on a bargaining dispute. Instead,

Council 222 is merely seeking judgment on the Panel’s authority. Such relief is appropriately

sought before this court. See NATCA., 606 F.3d at 787 (holding declaratory judgment proper and

the court did not lack jurisdiction because the union did not seek review of a decision of either

the Panel or the Authority General Counsel). Regardless, there is nothing in the clear text of the

Statute that precludes review of a Panel order, let alone a challenge to the Panel’s authority. As

such, the only preclusion that could conceivably be found is implicit. Council 222’s claim thus

meets the first requirement in Leedom.

       2. Council 222 has no other meaningful and adequate means of vindicating its statutory
          rights.

       Next, barring review by this Court would deny Council 222 a meaningful and adequate

means of vindicating its statutory rights. See Supra Section III(B)(1). Without judicial review in

this court there is no forum for Council 222 to effectively cure the Panel’s violation of the law.

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See Griffith v. FLRA, 842 F.2d at 493 (quoting Oestereich v. Selective Serv. Sys. Local Bd. No.

11, Cheyenne, Wyoming, 393 U.S. 233, 237 (1968) (“Without judicial intervention, the Court

said, the Boards could deteriorate into ‘freewheeling agencies meting out their brand of justice in

a vindictive manner.”)

        Typically, Panel decisions are neither subject to administrative review by the Authority,

nor are judicially reviewable. Brewer at 1499. In some cases, a Panel decision may be subject to

collateral attack through a party’s instigation of an unfair labor practice complaint. Id. In such a

case, a party’s refusal to comply with a Panel order may result in unfair labor practice

proceedings during which the party could assert a challenge to the Panel’s decision. The ability

to assert a challenge, though, is contingent on an unfair labor practice being issued against the

party that wishes to challenge the Panel’s order. NATCA, 606 F.3d at 788.

        Moreover, although a party may thus conceivably challenge a Panel order through an

unfair labor practice, doing so could result in substantial “calamities.” Brewer, 735 F.2d at fn.9.

Such a challenge, therefore, would not be meaningful because the potential risk would require a

party to “bet the farm.” Free Enterprise, 561 U.S. at 490-91. (quoting MedImmune, Inc. 549

U.S. at 129. The Supreme Court has concluded that it does “consider this a ‘meaningful’ avenue

of relief.” Id.

        Here, regardless of the potential to challenge a Panel order through an unfair labor

practice, Council 222’s challenges are not of the type that could be reviewed through an unfair

labor practice proceeding. Specifically, unlike the plaintiffs in Brewer, Council 222 is not

challenging the specific reasoning in a Panel decision. Rather, Council 222’s challenge is to the

very existence and authority of the Panel. As a result, Council 222 has no means other than this

action to vindicate its rights.



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       3. The Panel has Violated a Clear and Mandatory Statutory Provision.

       By issuing orders without a chairman and six other members, the Panel acted contrary to

a clear and mandatory statutory provision and exceeded its statutory authority. The Court of

Appeals expressly recognized that, “in exceptional circumstances, a district court may exercise

federal jurisdiction to invalidate a Panel order made ‘in excess of its delegated powers..’ Brewer

at 1500-501, (quoting Leedom). “[T]o justify [Leedom] jurisdiction, there must be a ‘specific

provision of the Act which, although it is ‘clear and mandatory,’’ was nevertheless violated by

the Panel.” Id. at 1501 (quoting Physicians Nat'l House Staff Ass'n v. Fanning, 642 F.2d 492,

496 (D.C. Cir. 1980), cert. denied, 450 U.S. 917 (1981)). That is precisely the situation here - a

specific statutory provision mandates that “[t]he Panel shall be composed of a Chairman and at

least six other members” and the Panel did not have the requisite composition of members when

it issued HUD and Council 222. 5 U.S.C. § 7119(c)(2) (emphasis added).

       Seemingly ignoring the explicit language in Section 7119(c)(2), Defendants’ sole

opposition to this court asserting jurisdiction under Leedom is based on its claim that the Statute

is “silent” as to “what constitutes a quorum of the Panel.” Motion at 24. Defendants argue that an

agency may create quorum rules when “not otherwise constrained by statute.” See e.g. Falcon

Trading Grp,. 102 F.3d 579, 582 (D.C. Cir. 1996). Contrary to Defendants’ claims, however, the

Statute specifically and expressly constrains the composition of the Panel. Indeed, in mandating

that “[t]he Panel shall be composed of a Chairman and at least six other members,” Congress

constrained the Panel to functioning only with “at least” seven members. 5 U.S.C. § 7119(c)(2).

       In Leedom, the Supreme Court stated that the law provides a remedy for a “suit [that] is

not one to ‘review,’ in the sense of that term as used in the Act, a decision of the Board made

within its jurisdiction. . . it is one to strike down an order of the Board made in excess of its



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delegated powers and contrary to a specific prohibition in the Act.” Leedom, 358 U.S. at 187.

The Court of Appeals has explained that the Leedom exception ‘“is premised on the original

federal subject matter jurisdiction of the district courts.”’ Local 2510, 453 F.3d at 506 (quoting

U.S. Dep’t of the Treasury v. FLRA, 43 F.3d 682, 688 n.6 (D.C. Cir. 1994)).

       Federal courts have reversed actions because federal agencies have exceeded their

statutory authority, despite the existence of a judicial bar to reviewing the agencies’ decisions.

Oestereich, 393 U.S. at 237-38. (holding a Selective Service board exceeded its statutory

mandate by promulgating regulations that denied a selective service registrant his statutory

exemption); AID Association for Lutherans v. U.S. Postal Serv., 321 F.3d 1166, 1175 (D.C. Cir.

2003) (“AID Association”)(finding the Postal Service exceeded its statutory authority with its

issuance of a regulation restricting the use of nonprofit third-class postage rate). Here, Council

222 is not asking this Court to review the Panel’s resolution of a specific bargaining impasse, but

to vacate the Panel’s order that exceeded the Panel’s delegated powers and violated the Statute.

       In this case, Council 222 meets the three criteria for a Leedom exception to any finding of

implied preclusion, and this court has jurisdiction over its claim.


       III.    THE COURT SHOULD GRANT SUMMARY JUDGMENT BECAUSE
               THE APPOINTMENT OF THE PANEL’S CHAIRMAN AND MEMBERS
               VIOLATES THE APPOINTMENT’S CLAUSE

       The Panel that issued HUD and Council 222 was composed in violation of the

Appointment’s Clause because the chairman and members are principal officers and were not

appointed by and with the advice and consent of the Senate. The Appointments Clause to the

Constitution “preserves … the Constitution’s structural integrity by preventing the diffusion of

the appointment power.” Ryder v. United States, 515 U.S. 177, 182 (1995). The Appointments

Clause “lays out the permissible methods of appointing ‘Officers of the United States,’ a class of

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government officials distinct from mere employees.” Lucia v. S.E.C., 138 S. Ct. 2044, 2049

(2018) (quoting Art. II, § 2, cl. 2). The acceptable method of appointment is determined by

whether an officer is deemed a “principle” or “inferior officer.” Edmond v. United States, 520

U.S. 651, 659-60 (2015). While Congress can vest the appointment of inferior officers to “the

President alone, in the Courts of Law, or in the Heads of Departments,” a principal officer can

only be appointed by the President, “by and with the Advice and Consent of the Senate.” Art. II,

§ 2, cl. 2.

        Panel members are officers of the United States because they exercise significant

authority pursuant to the laws of the United States, inasmuch as the Statute provides them

discretion in resolving impasses that arise between an agency and labor organization, and renders

any final decision taken by the Panel binding. 5 U.S.C. § 7119(c). Moreover, because Panel

members are not subject to supervision and issue final decisions, they cannot be inferior officers

and must be principal officers. See Edmond, 520 U.S. at 663. As officers of the United States,

Panel members “must, therefore, be appointed in the manner prescribed by” the Appointments

Clause. Buckley, 424 U.S. at 126. Principal officers must be appointed “by and with the Advice

and Consent of the Senate.” Art. II, § 2, cl. 2.

        The Panel that issued HUD and Council 222 was composed of members that were not

appointed by and with the advice and consent of the Senate. 5 U.S.C. § 7119(c)(2). Therefore,

the Panel was appointed in violation of the Appointments Clause and the portion of the Statute

purporting to permit their appointment without the advice and consent of the Senate is

unconstitutional.




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        1. Panel Members are Officers Who Exercise Significant Authority Pursuant to the
           Laws of the United States.

        That Panel members are officers of the United States is beyond dispute. The Supreme

Court’s decisions in Germaine and Buckley, provide the “framework for distinguishing between

officers and employees.” Lucia, 138 S.Ct. 2044 at 2051. First, the Court has held that an

individual “must occupy a “continuing” position established by law to qualify as an officer.” Id

(citing United States v. Germaine, 99 U.S. 508, 510 (1879)). Second, the Court will look to “the

extent of power an individual wields in carrying out his assigned functions,” in order to

determine if he “exercise[s] significant authority pursuant to the laws of the United States.” Id

(quoting Buckley, 424 U.S. at 126).

        Here, Panel members hold positions that are continuing in nature and are not “occasional

or temporary.” Id. The Statute explicitly provides that Panel members are appointed to five-year

terms. 5 USC 7116(c)(3). Moreover, they “serve on an ongoing, rather than a ‘temporary [or]

episodic [,] basis’; and their ‘duties, salary, and means of appointment’ are all specified” by the

Statute. Lucia 138 S.Ct. 2044 at 2051 (quoting Freytag v. Commissioner, 501 U.S. at 881

(1991)); 5 U.S.C. § 7116(c)(2), (3), and (4); See also Ass’n of Am. R.R. v. U.D. Dep’t of Transp,

821 F.3d 19 (D.C. Cir 2016) (finding arbitrators appointed to resolve specific impasses are

principal officers).

        Next, the powers which the Statute grants the Panel are significant. The Statute provides

the Panel with nearly unlimited “power … in carrying out [its] assigned functions.” Lucia 138

S.Ct. at 2051. In particular, the Panel “may hold hearings, administer oaths, take testimony or

deposition, and issue subpoenas.” 5 U.S.C. § 7119(c)(5)(B). The Supreme Court has found that

identical responsibilities demonstrate that an individual exercises significant authority even

though, unlike the Panel, they do not issue final decisions. Freytag, 501 U.S. at 881-82 (finding

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that the ability to “take testimony, conduct trials, rule on the admissibility of evidence, and have

the power to enforce compliance with discovery orders” demonstrated significant authority). If

holding hearings, administering oaths, taking testimony, and issuing subpoenas supports the

conclusion that a particular officer is a principal officer even if that officer does not issue final

decisions, it is beyond cavil that adding the power to issue final decisions to that list, as is the

case with the Panel, only solidifies the officer’s status as a principal officer.

        The Statute’s grant of authority to the Panel is thus even more significant than the

authority which the Court has found sufficient to establish status as an officer. By way of further

example, the Statute provides the Panel with the authority to “take whatever action is necessary

and not inconsistent with this chapter to resolve the impasse.” 5 U.S.C. § 7119(c)(B)(iii).

“Whatever action is necessary” is a very broad grant of power, even when set against the

backstop of “this chapter.” Id. The fact that the Statute renders Panel orders final and binding

only serves to seal the deal. 5 U.S.C. § 7119(c)(5)(C).

        In Lucia, the Court found the authority of SEC administrative law judges (“ALJ”) to be

significant despite being far more limited than that of the Panel. See Lucia 138 S.Ct. 2044

(observing that ALJ orders can be reviewed by SEC); See also Freytag 501 U.S. at 882 (Special

Tax Court judges exercise significant authority even though their decisions must be adopted by a

regular judge). Consequently, the Panel is composed of officers of the United States because the

Panel, by and through its members, exercises significant authority pursuant to the laws of the

United States.

        2. Panel Members are Principal Officers.

        In distinguishing inferior from principal officers, the Supreme Court has indicated that

the term “inferior officer” “connotes a relationship with some higher ranking officer or officers



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below the President.” Edmond, 520 U.S. at 661-62. While review of an individual’s authority is

important in determining their status as officers, authority “marks, not the line between principal

and inferior officer for Appointments Clause purposes, but rather … the line between officer and

nonofficer.” Id at 662. Thus, whether an officer is inferior or principal is “a question of

supervision.” Ass'n of Am. Railroads, 821 F.3d at 39.

       The Court of Appeals recently considered the line between inferior and principal officers

in two cases involving issues similar to those here. First, in Intercollegiate Broadcasting, 684

F.3d 1332 (D.C. Cir 2012), the court found that Copyright Royalty Board Judges (“CRJs”) were

principal officers. Like the Panel, CRJs were empowered to resolve disputes between parties

when voluntary negotiations failed and to impose binding terms on the disputing parties. Id at

1334. After confirming that CRJs were officers because they exercised significant authority

through their ability to impose binding rates, the court went on to review the level of supervision

the judges were subject to. Id at 1338-40.

       The court noted that while both the Librarian of Congress and Registrar of Copyrights

exercised some supervision over the CRJs, that supervision was limited. Id. The Librarian was

responsible for approving the CRJ’s regulations and issuing their ethical rules. Id. The Registrar

issued opinions on copyright law that the CRJs were bound by and, in certain instances,

reviewed and corrected legal errors in CRJ determinations. Id. Despite this oversight, the Court

found that CRJs were left with “vast discretion” in performing their duties. Id. This low-level of

supervision, combined with the general finality of CRJs’ decisions and their inability to be

removed by other officers, led the court to conclude that “CRJs as currently constituted are

principal officers who must be appointed by the President and confirmed by the Senate, and that

the structure of the Board therefore violates the Appointments Clause.” Id at 134 (citing



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SoundExchange, Inc. v. Librarian of Congress, 571 F.3d 1220, 1226–27 (D.C. Cir. 2009)

(Kavanaugh, J., concurring)).

       In a more recent case, the Court of Appeals found that arbitrators empowered by the

Passenger Rail Investment and Improvement Act, Pub L. No, 110-432, to “resolve any impasse

between Amtrak and FRA” were principal officers of the United States. Ass'n of Am. Railroads,

821 F.3d at 37-39. In determining that the arbitrator was a principal officer, the court observed

that there was no clear statutory “procedure by which the arbitrator’s decision [was] reviewable,”

and that the arbitrator’s decisions were final and binding. Id at 37-39. As a result, the Court held

that the arbitrators were principal officers because the statute did not provide “for the arbitrator's

direction or supervision by principal officers.” Id.

       The Statute grants the Panel even more independence than the CRJs and arbitrators found

to be principal officers. First, the Statute explicitly makes the Panel’s decisions final and binding

and provides no mechanism for their review. See 5 U.S.C. § 7119(c)(5)(C); Brewer, 735 F.2d at

1497. Importantly, the Panel’s orders are binding on both unions, such as Council 222, and

agencies and other officers of the Executive Branch. The Constitution vests such authority only

in principal officers. Cf. Dep't of Transp. v. Ass'n of Am. R.R., 135 S. Ct. 1225, 1239 (2015)

(Alito, J., concurring) (“[N]othing final should appear in the Federal Register unless a

Presidential appointee has at least signed off on it.”).

       Next, while the Authority may have some narrow oversight of the Panel inasmuch as its

rulings inform the Panel of the law, the Panel itself is in charge of determining the procedures

and methods used for exercising its authority. 5 U.S.C. § 7119(c)(5). Moreover, neither the

Authority nor any other principal officer has the power to remove or supervise the Panel. Instead,




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like other principal officers, the Panel is only accountable to the President and may retain its own

staff. 5 U.S.C. § 7119(c).

       The Panel exercises significant authority pursuant to the laws of the United States. It

exercises that authority with little to no supervision. Consequently, Panel members are principal

officers of the United States. The Appointments Clause requires that principal officers be

appointed “by and with the Advice and Consent of the Senate.” Art. II, § 2, cl. 2. The Panel that

issued HUD and Council 222 was not appointed by and with the advice and consent of the

Senate. Therefore, the Panel acted ultra vires and in violation of the Appointments Clause.

       IV.     THE STATUTE DOES NOT AUTHORIZE THE PANEL TO TAKE A
               FINAL ACTION WITHOUT A PROPERLY APPOINTED PANEL OF A
               CHAIRMAN AND AT LEAST SIX MEMBERS.

   1. The Statute Requires that a Panel be Composed of a Chairman and At Least Six Other
      Members; the Panel that Issued HUD and Council 222 Did Not Meet This Requirement.

       On or about July 26, 2017, the President appointed defendant Mark Carter to be

Chairman of the Panel. In addition, he appointed Andrea Fisher Newman, David R. Osborne,

Karen M. Czarnecki, Donald Todd, Jonathan Riches and F. Vincent Vernuccio to serve as

members. On January 10, 2019, the appointments of Donald Todd, Jonathan Riches, and F.

Vincent Vernuccio expired, leaving the Panel with a Chairman and three members.

       On February 14, 2019, the Panel issued HUD and Council 222, whereby it imposed

ground rules for Council 222’s and HUD’s negotiations over a successor term collective

bargaining agreement. However, as of February 14, 2019, the President had not made any

appointments to fill the positions left vacant by former members Donald Todd, Jonathan Riches,

and F. Vincent Vernuccio. Consequently, by issuing HUD and Council 222 without a Chairman

and at least six other members, and because nothing in the Statute empowers the Panel to take a




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final action notwithstanding vacancies in its membership, the Panel acted in violation of 5 U.S.C.

§ 7119(c)(2) and exceeded its authority under the Statute.

    2. The Statute Specifically and Unambiguously Directs that a Panel Shall be Composed of
       At Least Seven, not Four members.

        “[The] first step when interpreting a statute is to look at the language of the statute.”

District of Columbia v. Place, 892 A.2d 1108, 1111 (D.C. Cir. 2006). The primary and general

rule of statutory construction is that the intent of the lawmaker is to be found in the language that

he has used.” Id. (internal citations and quotations omitted). It is axiomatic that the words of the

statute should be construed according to their ordinary sense and with the meaning commonly

attributed to them. Id. When interpreting the language of a statute, we must look to the plain

meaning if the words are clear and unambiguous. Id. In this case, Section 7119(c)(2) of the

Statute is explicit:

                The Panel shall be composed of a Chairman and at least six other members, who
                shall be appointed by the President, solely on the basis of fitness to perform the
                duties and functions involved, from among individuals who are familiar with
                Government operations and knowledgeable in labor-management relations.

Id. The intent of Congress is thus clear and unambiguous - the Statute mandates “[t]he Panel

shall be composed of a Chairman and at least six other members.” Id. The use of the words

“shall” and “at least” is a clear indication of congressional intent to ensure that the Panel be

composed of a minimum of seven members. The language is plain and unequivocal; a fully

constituted Panel must consist of at least seven members and one of the members must be the

Chairman. This is the only way to give meaningful effect to Section 7119(c)(2) of the Statute.

Duncan v. Walker, 533 U.S. 167, 174 (2001) (declining to adopt a construction of the statute

[that] would render [a term] insignificant”).




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       Another principle of statutory construction is “when Congress includes particular

language in one section of a statute but omits it in another section of the same Act, it is generally

presumed that Congress acts intentionally and purposely in the disparate inclusion or exclusion.”

U.S. v. Villanueva-Sotelo, 515 F.3d 1234, 1248 (D.C. Cir. 2008) quoting Russello v. U.S. 464

U.S. 16, 23 (1983). Applying this simple cannon of construction and comparing it to the parallel

provision of the Statute addressing the composition of the Authority -- we observe that 5 U.S.C.

§ 7104(a)(d) provides:

               (a)The Federal Labor Relations Authority is composed of three members, not
               more than 2 of whom may be adherents of the same political party. No member
               shall engage in any other business or employment or hold another office or
               position in the Government of the United States except as otherwise provided by
               law.
               (d)A vacancy in the Authority shall not impair the right of the remaining members
               to exercise all of the powers of the Authority.

Id. Here, the Statute provides that the Authority shall be composed of three members. 5 U.S.C.

§7104(a). The Statute also expressly provides that: “[a] vacancy in the Authority shall not

impair the right of the remaining members to exercise all of the powers of the Authority.” 5

U.S.C. § 7104(d). Unlike the Panel, the Statute provides that the Authority is able to exercise all

its powers even if it is lacking a full complement of members. The Statute does not provide this

permissive language with regards to the Panel. Indeed, it explicitly states “[t]he Panel shall be

composed of a Chairman and at least six other members [.]” 5 U.S.C. § 7119(c)(2).

       If Congress intended the Panel to be able to exercise its authority when a Panel member

was vacant, it presumably would have said so expressly, as it did for the Authority at 5 U.S.C. §

7104(d). Because Congress did not use the same language for the Panel it is “presumed that

Congress act[ed] intentionally and purposely in the disparate [] exclusion” of any vacancy clause

in the Statute pertaining to the Panel. U.S. v. Villanueva-Sotelo, 515 F.3d at 1248. Put another



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way the presumption is that Congress did not intend for the Panel to exercise its full authority

with less than seven members. This construction also makes sense because of the extraordinary

power that the Panel wields. For example, if the Panel asserts jurisdiction it may “take whatever

action is necessary and not inconsistent with the [Statute] to resolve the impasse including

binding arbitration.” Am. Fed’n of Gov’t Emps. v. FLRA, 691 F.2d 565, 569 n. 26 (D.C. Cir.

1982) (internal citations omitted). In sum, the language in the Statute plainly and

unambiguously directs that a properly constituted Panel must be composed of at least six

members and one chairman.

   3. The Panel Cannot Issue Final Actions Without a Properly Constituted Panel of Seven
      Members.

       The Panel was not properly constituted with at least seven members when it issued the

Decision and Order in HUD and Council 222. This court’s reviewing circuit has held that an

entity, like the FSIP, loses it authority to act when it fails to maintain a statutorily imposed

membership requirement. See Laurel Baye Healthcare of Lake Lanier, Inc. v. NLRB, 564 F.3d

469, 475 (2009) (“The Board quorum provision…clarifies that three members of the board shall

at all times, constitute a quorum of the Board…..The Board’s ability to legally transact business

exists only when three or more members are on the Board.”) (internal citations omitted) (“Laurel

Baye”).

       Laurel Baye addressed the lawfulness of the Board's effort to evade the quorum

requirement imposed on its own activities. Id. at 472. The Court of Appeals considered whether

plenary, final authority delegated to panels of the Board's own members could survive when the

Board did not maintain a three-member quorum. Id. The NLRA provides that “the Board shall

consist of five instead of three members.” Laurel Baye Healthcare, 564 F.3d at 470, citing 29

U.S.C. § 153(a). Section 3(b) of the NLRA states, in relevant part, that:

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               The Board is authorized to delegate to any group of three or more members any or
               all of the powers which it may itself exercise.... A vacancy in the Board shall not
               impair the right of the remaining members to exercise all of the powers of the
               Board, and three members of the Board shall, at all times, constitute a quorum of
               the Board, except that two members shall constitute a quorum of any group
               designated pursuant to the first sentence hereof.


29 U.S.C. § 153(b). Id.

        The Court of Appeals concluded that the delegation in question could not survive

because it was precluded by the plain meaning of the Boards quorum provision that “three

members of the Board shall at all times, constitute a quorum of the Board.” Laurel Baye

Healthcare, 564 F.3d at 475.

       In Laurel Bay Healthcare, the petitioner argued that the Board lacked the power to issue

a Decision and Order because it did not have a properly constituted three-member quorum.

Laurel Bay Healthcare, 564 F.3d at 472. Like the NLRB’s failure to maintain the membership

requirement for a quorum of the Board in Laurel Baye Healthcare, the Panel here failed to

maintain the unambiguously directed seven-member Panel requirement of the Statute.

       Although as noted in Section V(B), supra, the Statute provides neither a vacancy clause

nor a delegation clause for the Panel, the Court’s analysis of the delegation clause in Laurel Bay

Healthcare is controlling in this case. Like the Board’s quorum requirement of three members;

the Panel’s membership requirement of seven members must be satisfied at all times.

Specifically, Section 7119(c)(2) of the Statute mandates “[t]he Panel shall be composed of a

Chairman and at least six other members[.]” Id. Further, 29 U.S.C. § 153(b) mandates that “three

members of the Board shall, at all times, constitute a quorum of the Board.” Id. That the Statute

fails to contain a delegation clause underscores, conclusively, that the Panel cannot act without




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seven members. Congress could have included a delegation clause, such as the one in the NLRA,

if it had intended otherwise.

       Congress’s use of “shall” and “at least” in the Statute is a clear indication that a Panel

must have a minimum of seven members at all times Thus, like in Laurel Bay Healthcare,

where the Court of Appeals found that the Board did not have the authority to issue its Decision

and Order with only two members because it failed to maintain the requisite three members in

the quorum, this Court should also find that the Panel did not have the authority to issue a

Decision and Order in HUD and Council 222 with less than the statutorily mandated seven

member Panel. The Panel cannot circumvent the prerequisite number of members because this

requirement must always be satisfied. Interpreting the Statute to require the Panel’s power to be

vested at all times in a group of at least seven Panel members is consonant with the unambiguous

language in Section 7119(c)(2) of the Statute.

   4. The Panel’s Regulations at 5 C.F.R. §§ 2470.2(f) and (h) Cannot Allow the Panel to Act
      Without Seven Properly Appointed Members.

       There can be no legitimate dispute that at the time the Panel issued its decision in HUD

and Council 222, it did so without seven members. Defendants’ argue that the Panel did not act

in excess of its statutory authority when it defined the Panel quorum as a majority of its

members. Motion at 24. Defendants’ assert:

               [i]n the face of the Statute’s silence, when the Authority promulgated its first
               regulations concerning the processing of cases for all FLRA components, it
               defined the Panel as the Federal Service Impasses Panel or a quorum thereof[.]….
               [and later]….redefined quorum to mean a majority of the members of the Panel.

Motion at 24. (internal quotations and citations omitted). However, the Statute is not silent on the

composition of a fully constituted Panel, and any reliance on 5 C.F.R. 2470.2(f) and (h) is

misplaced because those regulations would apply only if the Panel is properly constituted.



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       5 C.F.R. 2470.2(f) and (h) provide:

               (f) The term Panel means the Federal Service Impasses Panel described in 5
               U.S.C. § 7119(c) or a quorum thereof; and
               (h)The term quorum means a majority of the members of the Panel.

Id. The regulations’ definitions are best read to require that the Panel maintain a membership of

at least seven members before a majority of those members -- hence “thereof” -- can act as a

quorum. Thus, the Panel’s definitions of “Panel” and “Quorum” in its regulations are

inapplicable here because the Panel issued its decisions in HUD and Council 222 -- without a

properly constituted Panel of seven members. The Agency’s reliance on any argument that its

regulations allow a four-member Panel to issue final actions without a properly constituted

seven-member Panel would run counter to Congress’s unambiguous direction that that “[t]he

Panel shall be composed of a Chairman and at least six other members[.].” 5.U.S.C. §

7119(c)(2).

       “A cardinal principle of interpretation requires us to construe a statute so that no

provision is rendered inoperative or superfluous, void or insignificant.” Laurel Baye Healthcare

564 F.3d at 472. (quoting Asiana Airline v. FAA, 134 F.3d 393, 398 (D.C. Cir. 1998). Any

regulation allowing a Panel consisting of only four members, to exercise the authority of the

Panel violates this principle of statutory interpretation by deliberately avoiding congress’s clear

mandate that “[t]he Panel shall be composed of a Chairman and at least six other members [.]” 5

U.S.C. § 7119 (c)(2). Defendants, without any elaboration, argue that the Authority interpreted 5

U.S.C. § 7119 (c)(2) to define what constitutes a full complement of Panel members---not the

number of Panel members necessary to take action. Motion at 6. However, the use of the words

“shall” and “at least” are present in the Statute to indicate that the Panel must be composed of a

minimum of six members and a chairman. 5 U.S.C. § 7119(c)(2). If Congress intended the



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Panel to be able to exercise its authority with only four members, the existing statutory language

would be an unlikely way to express that intention. Any argument that the FSIP regulations

establish such authority must fail. “An agency construction of a statute cannot survive judicial

review if a contested regulation reflects an action that exceeds the agency’s authority.” AID

Association, 321 F.3d at 1174.

       Defendants’ reliance on Falcon Trading Group, Ltd. v. S.E.C., 102. F.3d 579 (D.C. Cir.

1996) (“Falcon Trading”), is misplaced. Defs. Mot. at 25. In Falcon Trading the Court of

Appeals approved the SEC’s promulgation of a new quorum rule, which stated that the SEC’s

quorum would equal the number of remaining commissioners if the number of remaining

commissioners fell below the normal three-commissioner quorum. Falcon Trading, 102 F.3d at

582. The Court of Appeals held that, “[i]f not otherwise constrained by statute, an agency

sufficiently empowered by its enabling legislation may create its own quorum rule.” Id. Further,

the court noted that the SEC's quorum determination was lawful because it was “not

countermanded elsewhere by Congress, as for example in an explicit statutory quorum

provision.” Id.

       This case is unlike Falcon Trading. Here, unlike the SEC in Falcon Trading --- where

the SEC was sufficiently empowered by its enabling statute --- the Panel is not. While the Panel

also has an enabling statute that allows for the promulgations of regulations, it is nonetheless

countermanded by Congress’s unambiguous language in the Statute mandating the minimum

number of members that constitute a Panel. Specifically, as explained supra Section V(B),

Section 7119 (c)(2) provides:

                  The Panel shall be composed of a Chairman and at least six other members, who
                  shall be appointed by the President, solely on the basis of fitness to perform the
                  duties and functions involved, from among individuals who are familiar with



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               Government operations and knowledgeable in labor-management relations.
               (emphasis added)

Id.
       That statutory directive defines the minimum number of members needed to constitute a

Panel. The Agency’s reliance on any argument that its regulations permit the issuance of HUD

and Council 222 with only four members on the Panel and not the statutorily mandated properly

constituted seven-member Panel is not supported by the text of the Statute. Distinguishing its

ruling in Falcon Trading, the Court of Appeal’s opinion in Laurel Bay Healthcare held that

“Falcon Trading Group offered no support to the Board in that case.” Laurel Bay Healthcare,

564 F.3d at 475. The Court of Appeals upheld SEC’s power to determine how many members

constituted a quorum because Congress specifically bestowed the power on the Commission.”

Laurel Bay Healthcare, 564 F.3d at 475. The Court of Appeals reasoned:

        the [SEC] was sufficiently empowered by its enabling legislation: the Board is not.
       Indeed, Congress has spelled out precision quorum provisions for the Board. Congress
       provided that a quorum of the Board is three members. The Board does not have three
       members. It cannot act. Though section 3(b) gives the Board power to delegate its
       authority to a group of members, this authority is necessarily limited by the fact that the
       delegation authority allows the Board to grant its power only to a group of three or more
       members. See 29 U.S.C. § 153(b). The Board’s delegation power is also obviously
       limited by the fact that the Board quorum provision establishes that the power of the
       Board to act exists when the Board consists of three members.

Laurel Baye Healthcare, 564 F3d at 475. Thus, the Board lacked the power to issue a Decision

and Order because it did not have a properly constituted three-member quorum. Laurel Baye

Healthcare, 564 F.3d at 472.

       There can be no legitimate dispute that at the time the Panel issued its decision in HUD

and Council 222, it did so without seven members. Any reliance on 5 C.F.R. §§ 2470.2(f) and

(h) is misplaced because those provisions would apply if there had been a properly constituted

Panel and three members were not present for the issuance of the decision in HUD and Council

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222. The Agency’s reliance on any argument that its regulation allows a Panel with less than

seven members to transact final actions would run counter to Congress’s unambiguous expressed

language in the Statute that a Panel shall consist of at least six members and a chairman, 5 U.S.C.

§ 7119 (c)(2); and counter to the holding in Laurel Bay Healthcare. The FSIP, cannot

contravene the unambiguous and clear commands of Congress. Any argument that the Panel can

exercise its authority without a properly constituted seven-member panel pursuant to FSIP

regulations is plainly inconsistent with the plain language of the Statute.

                                      CONCLUSION

       For the foregoing reasons, Council 222 respectfully requests that the Court deny

Defendants’ Motion to Dismiss Plaintiff’s Second Amended Complaint and grant Plaintiff’s

Motion for Summary Judgment. Accordingly, Plaintiff requests that the Court vacate the Panel’s

decision in HUD and Council 222 in its entirety and declare HUD and Council 222 to be void

and ultra vires in violation of the Statute and Appointments Clause to the United States

Constitution. Plaintiff further requests that the Court enjoin the Panel from exercising its powers

and declare that the Panel may not exercise its powers until it is composed of a Chairman and at

least six other members that have been appointed “by and with the Advice and Consent of the

Senate,” as required by the Appointments Clause to the United States Constitution.

                                                      Respectfully Submitted,

                                                       /s/ Andres M. Grajales
                                                      Andres M. Grajales
                                                      Deputy General Counsel
                                                      D.C. Bar No. 476894
                                                      AFGE, Office of the General Counsel
                                                      80 F Street, N.W.
                                                      Washington, D.C. 20001
                                                      Tel.: (202) 639-6426
                                                      Fax.: (202) 379-2928
                                                      Email: Grajaa@afge.org

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                                  /s/ Mark L. Vinson
                                  Mark L. Vinson
                                  Assistant General Counsel
                                  D.C. Bar No. 478175
                                  AFGE, Office of the General Counsel
                                  80 F Street, N.W.
                                  Washington, D.C. 20001
                                  Tel.: (202) 639-6426
                                  Fax.: (202) 379-2928
                                  Email: Vinsom@afge.org

                                   /s/ Rushab Sanghvi
                                  Rushab Sanghvi
                                  Associate General Counsel
                                  D.C. Bar No. 1012814
                                  AFGE, Office of the General Counsel
                                  80 F Street, N.W.
                                  Washington, D.C. 20001
                                  Tel.: (202) 639-6426
                                  Fax.: (202) 379-2928
                                  Email: Sanghr@afge.org


                                  Attorneys for Council 222




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 1st day of November 2019, I electronically filed the foregoing

with the Clerk of the Court for the United States District Court for the District of Columbia by

using the CM/ECF system. I also certify that the foregoing document is being served on counsel

of record and that service will be accomplished by the CM/ECF system.




                                                                    /s/ Rushab Sanghvi
                                                                    Rushab Sanghvi
                                                                    Associate General Counsel
                                                                    D.C. Bar No. 1012814
                                                                    AFGE, Office of the General
                                                                    Counsel
                                                                    80 F Street, N.W.
                                                                    Washington, D.C. 20001
                                                                    Tel.: (202) 639-6424
                                                                    Fax.: (202) 379-2928
                                                                    Email: sanghr@afge.org




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